Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 1 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 2 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 3 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 4 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 5 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 6 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 7 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 8 of 9
Case 2:06-cr-14029-KMM Document 432 Entered on FLSD Docket 06/07/2010 Page 9 of 9
